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5.1.6 Summary of our valuation of the Norbert Dentressangle shares

The table below shows a comparison in figures of our work with that performed by the
sponsoring bank:

Summary
Ledouble Morgan
Stanley
Central value Prime (%) Central value Prime (%)
Purchase of the

Controlling Interest

 

Price of the Controlling €219 - €219 -
Interest

Share price

Spot price - 28 April 2015 €159 37.8% €159 37.8%
1-month weighted €155 41.1% €155 41.1%
average

3-month weighted €149 47.3% €149 47.3%
average

6-month weighted €135 62.2% €135 62.2%
average

12-month weighted €122 79.4% €122 79.4%
average

Target prices

Target price €174 26.4% €174 26.4%
DCF approach

DCF €170 28.6% €196 11.6%
Investment multiples

EV /EBITA — 2015 €171 27.9% €170 29.1%
EV /EBITA - 2016 €146 50.5% €137 59.9%
EV/EBITDA - 2015 €199 10.2% €139 58.1%
EV /EBITDA-2016 €185 18.8% €129 69.4%
PER - 2015 na. n.a. €202 8.5%
PER - 2016 na. n.a. €189 16.0%
Transaction multiples

Takeover bids in France na. na. €195 12.7%
Comparable transactions €135 62.9% €138 59.2%

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6 CONCLUSION

On the basis of our valuation of the Norbert Dentressangle shares, we can see that the
Offer price presents a premium to all valuation criteria.

The agreements signed within the framework of the Offer do not have any impact on
our assessment of the fairness of the Offer price.

It is our opinion that the proposed price of €217.50 (ex-divided of €1.80) is fair from a
financial viewpoint for Norbert Dentressangle shareholders with a view to the
implementation of a squeeze-out procedure.

Paris, 10 June 2015

LEDOUBLE SAS

Olivier CRETTE Sébastien SANCHO

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APPENDICES
e Detailed programme of works and appraisal fees Appendix 1
e Main appraisal stages Appendix 2
e List of persons met and/or contacted by the appraiser Appendix 3
e Main sources of information used Appendix 4
e Members of the Ledouble team Appendix 5

e List of appraisals and financial analysis performed by Appendix 6
Ledouble

e Projected performances of comparable listed companies Appendix 7

e Presentation of comparable companies’ business activity Appendix 8

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Appendix 1: Detailed programme of works and appraisal fees

4.

Preliminary work and familiarisation

Press review and documentary research
Analysis of the Transaction and its legal framework
Review of the Company’s historic share price performance and target prices

Interviews with representatives of the Company and the Offeror, the sponsoring
bank, as well as the respective advisors

Valuation work

Review of past results, financial structure and key events for the Company
Putting together a sample of comparable listed companies and transactions
Documentary requests

Researching sector and financial information in databases

Multi-criteria valuation of the Company’s shares

Independent appraisal report

Meetings and telephone interviews
Writing engagement letter

Writing a proposed letter of representation for the attention of representatives of
the Company and the Offeror

Writing the report

Administration and supervision of the assignment

Compensation

The total amount of fees under the terms of Ledouble’s engagement letter of 7 May
2015 comes to between €260,000 and €280,000 (excluding taxes and disbursements),
depending on the amount of time spent.

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Appendix 2: Main appraisal stages

=> Week of 27 April to 3 May 2015

- Prior contacts
- Appointment of the independent appraiser by the Company’s Supervisory Board
- Use of information available to the public on the Company’s website

- Review of data room information made available by the Offeror within the
framework of its diligence procedures

- Review of legal documents relating to the Offer

=> Week of 4 May to 10 May 2015

- Proposed engagement letter

- Documentary requests

- Briefings, meetings and interviews with the sponsoring bank and Advisors
- Analysis of the Company’s share price performance

- Researching sector and financial information in databases

- Putting together a sample of comparable listed companies and transactions

> Week of 11 May to 17 May 2015
- Use of information collected comprising the business plan and implementation
of a multi-criteria valuation
- Additional documentary requests

- Review of legal documents relating to contribution transactions prior to the Offer
and interviews with the expert appraiser

- Writing the outline of the independent appraisal report

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=> Week of 18 May to 24 May 2015

- Interviews with representatives of the Company

- Use of information received in response to our requests for additional
information

- Review of the Statutory Auditors’ report
- Use of the Offeror’s draft offer document

- Interviews with Advisors

=> Week of 25 May to 31 May 2015

- Interviews with representatives of the Offeror

- Briefings and interviews with representatives of the Company and the Advisors
- Requests for additional information

- Finalisation of valuation work

- Writing the independent appraisal report

=> Week of 1 to 7 June 2015

- Proposed letters of representation
- Use of the draft responding offer document from the Company
- Raising of matters pending

- Distribution of the draft independent appraisal report

=> Week of 8 to 14 June 2015

- Presentation of the draft independent appraisal report

- Delivery of the fairness opinion intended for the Company’s Supervisory Board
and submission of the responding offer document to the AMF

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Appendix 3: List of persons met and/or contacted by the appraiser

H) COMPANY

Jean-Luc Poumaréde

Vincent Menez

Patrick Bataillard
Gaultier de la Rochebrochard
Cyril Trossat

2) XPO GROUP

Gordon Devens

John Hardig

3) SPONSORING BANK

Alban de La Sabliere
Marie-Charlotte Etienne

Jean Dorcier

4) ADVISORS

Rothschild

Cyril de Mont-Marin
Pierre-Henri Chappaz
Pierre Boscher

Oussama Lemsyeh

Supervisory Board member, Chairman of the Audit
Committee

Supervisory Board member, Member of the Audit
Committee

Management Board member, Chief Financial Officer
Group General Counsel

Consolidation Director

Senior Vice President and General Counsel

Chief Financial Officer

Managing Director
Executive Director

Analyst

Partner
Managing Director
Assistant Director

Analyst

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JP Morgan

Edouard Debost Managing Director
Olivier Simon Executive Director
Benoit Hourdain Associate |

Bredin Prat

Olivier Assant Barrister
Karine Angel Barrister
Béna Mara Barrister

Darroy Villey Maillot Brochier

Olivier Huygues Despointes Partner

5) EXPERT APPRAISER

Sylvain Mary Expert appraiser

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Appendix 4: Main sources of information used

Documents relating to the Transaction

- Draft offer document relating to the Offer for the Company’s shares initiated by
XPO presented by Morgan Stanley

- Responding offer document from the Company relating to the Offer for the
Company’s shares initiated by XPO

- Public announcement of the Offer dated 28 April 2015

- Minutes from the Supervisory Board meeting of 27 April 2015 showing the
favourable response to the Offer from the Supervisory Board and authorising the
Chairman of the Management Board to sign the TOA

- SPA signed on 28 April 2015 between Mr Norbert Dentressangle, Ms Evelyne
Dentressangle, Mr Pierre-Henri Dentressangle, Ms Marine Dentressangle and
XPO Logistics

- TOA signed on 28 April 2015 between the Company and XPO Logistics

- Profit-Sharing Plan signed between XPO Logistics and all members of the
Management Board and annexed to the TOA

- Draft contribution agreement of 15 May 2015 between Mr Norbert
Dentressangle, Ms Evelyne Dentressangle and DISAS

- Draft initial valuation report by Morgan Stanley and subsequent updates

Company legal documentation
- Minutes of Management Board meetings of 2013, 2014 and 2015
- Minutes of Supervisory Board meetings of 2013, 2014 and 2015

- Draft text of resolutions proposed to 2013, 2014 and 2015 general shareholders’
meetings

- Total number of shares and voting rights making up the Company’s share capital
at 31 May 2015

- Number of outstanding stock warrants at 31 May 2015

- Number of performance shares at 31 May 2015

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Company accounting and financial documentation
- Annual reports!
- Press release on the Transaction!
- 2014 results presentation!»
- Impairment tests to 31 December 2014
- Presentation of 2015 budget'!®
- 2015-18 Business plan
- Presentation of results to 31 March 2015!” and 30 April 2015

- Most recent broker reports!”®

Offeror documentation
- Annual reports?
- Press release on the Transaction!”
- Conference call on the Transaction”!

- Broker reports!”

Sector documentation
- Xerfi, “Freight forwarding”, August 2014.
- Xerfi, “Road transportation of goods”, February 2014
- Xerfi, “Cold and non-cold storage”, February 2014

 

113 hetp://www.norbert-dentressangle.com/fr/Investisseurs.

14 http: //www-norbert-dentressanele.com/fr/Groupe/Actualites/ Acquisition-de-Norbert-Dentressangle-par-XPO-

Logistics.

 

16 “Book budget 2015 — Group Finance”.

7 Company document entitled “Audit Committee - 19 May 2015”.
18 ThomsonOne, reports provided by the Company and its financial advisor.

19 herp://investors.xpologistics.com/phoenix.zhtmlrc=2046158p=irol-reportsannual.

 

121 http://investors.xpologistics.com/phoenix.zhtm)?c=20461 5&p=irol-newsArticle&ID=2041131 ; “XPO Logistics will
hold a conference call to discuss the proposed transaction on Wednesday, April 29, 2015”.

'22 ThomsonOue.

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in case of discrepancy between the French and the English version, the French version shall prevail.

Xerfi, “Logistics Groups — World, Market Analysis - 2014-2019 Trends”,
August 2014

Databases

Bloomberg
ThomsonOne
Infinancials

Xerfi

Online information!

Press review (Factiva, La Tribune, La Dépéche, Le Monde, Les Echos, The Financial Times,
Marketwatch.com)

Company website: http://www.norbert-dentressangle.com/fr/
XPO website: http://www.xpologistics.com/

AMF website: http://www.amf-france.org/

Banque de France website: www.banque-france.fr.

Damodaran, “Transportation”, January 2015:
http://people.stern.nyu.edu/adamodar/New_ Home Page/datafile/Betas.html

KPMG, “Q3 2014 Transportation and logistics M&A update”:
https://www.kpmg.com/NL/nl/IssuesAndInsights/ArticlesPublications/Documents/PDF/
Transactions-Restructuring/MA-TL-Sector-update-O3-2014.pdf.

IMF, “World Economic Outlook”, April 2015:
http://www.imf.org/external/pubs/ft/weo/2015/01/pdf£/text.pdf

 

23 Web links as at 8 June 2015.

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Appendix 5: Members of the Ledouble team

Ledouble is a financial consulting firm specialising in independent appraisals. In this
regard, it performs a number of independent appraisals primarily within the
framework of public tender offers. The main independent appraisal and financial
analysis assignments performed within this area from 2008 to 2015 are listed in
appendix 6. Ledouble is a founder member of the Association Professionnelle des
Experts Indépendants (APEI), a professional association accredited by the AMF in
accordance with Article 263-1 of its General Regulations, and of the Société Frangaise
des Evaluateurs (SFEV), and follows the compliance rules described on its website:

http://www.ledouble.fr.

Olivier CRETTE, Partner

Chartered accountant and auditor, EM Lyon business school, Doctor of
Management Science

Member of the Steering Committee of the APEI
Member of SFEV

Member of the Valuation Committee of the Association of Finance and
Management Control Directors (DFCG)

Member of the Professional Standards Committee of the Compagnie Nationale des
Commissaires aux Comptes (CNCC)

Regularly conducts independent appraisals and valuations

Associate professor at the Conservatoire National des Arts et Métiers (CNAM),
lecturer at the ‘Institut d’Administration des Entreprises (IAE) in Paris and
Université Paris IX - Dauphine

Sébastien SANCHO, Partner

Chartered accountant and auditor, Master’s degree in “Corporate Finance and
Financial Engineering” from Université Paris IX — Dauphine, MSTCF Paris IX ~
Dauphine, certified “Islamic Qualification”

Member of SFEV

Member of the Valuation Committee of the Association of Finance and
Management Control Directors (DFCG)

Regularly conducts independent appraisals and valuations

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Romain DELAFONT, Senior manager

- Master’s degree in “Corporate Finance and Financial Engineering” from Université
Paris IX - Dauphine

- Advanced diploma in accounting and management
- Member of SFEV

- Regularly involved in independent appraisals and valuations

Edouard HAYOT, Analyst
- _Neoma Business School

- Regularly involved in independent appraisals and valuations

Dominique LEDOUBLE, in charge of the independent review

Dominique Ledouble did not take part directly in the work carried out within the framework of
the independent appraisal. He was involved in the capacity of internal quality controller within
Ledouble in accordance with Article 2 of AMF instruction 2006-08.

- HEC business school, chartered accountant and auditor, Doctor of law
- Chairman of the Fédération Francaise des Experts en Evaluation (FFEE)
- Founder and Honorary Chairman of the APEI

- Member of SFEV

- Regularly involved in independent appraisals and valuations

- Lecturer at Sciences-Po

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Appendix 6: List of appraisals and financial analysis performed by Ledouble

 

 

Year Company Sponsoring bank

2015 Euro Disney SCA BNP Paribas

2014 Euro Disney SCA 124

2014 Siic de Paris Natixis

2014 Bull Rothschild

2013 Global Graphics -

2013 Sam Société Générale

2013 Etam Natixis

2013 Tesfran Oddo Corporate Finance

2013 Monceau Fleurs Omega Capital Market

2013 Sical Arkeon Finance

2013 Auto Escape Portzamparce

2013 Klémurs Morgan Stanley

2013 Fonciére Sépric Crédit Agricole CIB

2013 Elixens Banque Palatine

2012 Orchestra Kazibao Arkeon Finance

2012 Leguide.com Natixis

2011 Xiring Oddo Corporate Finance

2011 Maurel et Prom Nigéria -

2011 Furosic BNP Paribas, CM-CIC Securities, CACIB,
Natixis

2011 Metrologic HSBC

2011 Merci Plus Oddo Corporate Finance

2010 Stallergenes Deutsche Bank

2010 Initiative et Finance Rothschild

2010 Sperian Protection BNP Paribas

2010 Sodifrance Portzamparc

2010 Radiall Oddo Corporate Finance

2009 Fonciére Développement Logement Société Générale et Calyon

2009 L‘Inventoriste Dexia Securities France

2009 GiFi Société Générale

2009 Homair Vacances Arkeon Finance

2008 Keyrus Calyon

2008 Réponse SA Rothschild Transaction R

2008 SASA Oddo Corporate Finance

2008 Sodexo Lazard

2008 Alain Afflelou Lazard

2008 Cedip Oddo Corporate Finance

 

14 Reserved capital increases (Article 261-2 of the AMF General Regulations).
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Appendix 7: Projected performances of comparable listed companies

Comparable listed companies

 

 

Company Refer % revenue growth EBITDA margin (%) EBITA margin (%)

ence

appe 2015 2016 2017 2015 201 2017 2015 2016 2017

ndix 6

8

C.H. Robinson §8.1 6% 7% 6% 6% 6% 6% 6% 6% 6%
Landstar §8.2 6% 7% 8% 8% 8% 8% Th 7% 8%
System
Con-Way §8.3 2% 6% 5% 9% 10% 10% 5% 6% 6%
STEF §8.4 3% 3% 3% 7% 7% 8% 4% 4% na.
ID Logisitics §8.5 8% 8% 6% 7% 7% 7% 5% 5% 5%
Wincanton §8.6 1% 2% 2% 6% 6% 6% 5% 4% 6%
Average 4% 7% 6% 7% 7% 8% 5% 5% 6%
Median 4% 6% 5% 7% 7% 8% 5% 5% 6%

 

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Appendix 8: Presentation of comparable companies’ business activity’

 

8.1 C.H. Robinson

 

US group specialising in transportation and logistics services.

C.H. Robinson consists of three divisions:

e the “Transportation” division comprises transportation activities (road,

international, freight) and logistics activities;

e the “Sourcing” division corresponds to the buying and selling of perishable
goods;

e the “Payment Services” division, which remains very marginal, generates

revenues from payment advances given to its clients.

The group operates a network of around 280 offices across North America, Europe, Asia
and South America.

 

2014 revenues by region 2014 revenues by business line

= Transportation

= United States ® Sourcing

% Other x Payment Services :

  

 

 

 

 

 

5 In the order of presentation of appendix 7.

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8.2. Landstar System

 

US group specialising in transportation and logistics services.
Landstar consists of two divisions:

- the “Transportation/Logistics” division encompasses transportation services

(primarily road) and logistics services;
- the “Insurance” division offers risk management services to clients.
The group operates primarily in the North American market. At 31 December 2014, it

operated 8,953 semi-trailers of which 852 were under leasing agreements and 3,927
were supplied by independent parties.

 

2014 revenues by business line

1%

= Transportation
Logistics

# Insurance

 

 

 

 

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8.3. .Con-Way
US group specialising in transportation and logistics services.
Con-Way consists of three divisions:

e freight operations via subsidiary “Con-Way Freight”, which provides regional

and international services mainly in North America;

¢ logistics operations via subsidiary “Menlo Worldwide Logistic”; in 2014, the

group operated 78 warehouses in North America and 81 outside North America;

¢ road transportation or “Truckload” with a fleet of 7,800 semi-trailers and 2,600

tractors.

Con-Way is present at over 500 sites in North America and also in
20 other countries spanning all five continents. Con-Way directly owns 146 centres out
of the 297 centres in operation.

 

2014 revenues by region 2014 revenues by business line

® United States Freight
» Canada # Logistics
# Other a Truckload

  

 

 

 

 

 

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8.4  STEF

 

French group and a leading name in Europe, STEF is European market leader in
transportation and logistics services for chilled and frozen food products. Its business
activities are structured as follows:

e¢ “Transportation France” looks after road transportation of perishable food
products (meat, dairy, beverages etc.) and pharmaceutical and cosmetic

products;

e the “International” division comprises transportation and logistics activities in

other countries;

e the “Logistics” division has 225 warehouses and platforms representing a total

storage volume of 6,767,000 m3;

e the “Maritime” division looks after transportation by sea of passengers and

freight between the port of Marseille and ports in Corsica.

e other activities cover two areas of expertise: Information Systems (client
computing, management computing etc.) and Real Estate (manager of the

group’s property assets).

The group’s main client markets are food products, supermarkets and hypermarkets,
pharmaceuticals and cosmetics, and flower producers.

The group favours a policy of owning its properties.

 

2014 revenues by region 2014 revenues by business line
a Transportation
France

= Logistics France

@ France
# International
# Other regions

# Maritime

  

» Other

 

 

 

 

 

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8.5 ID Logistics

 

A French pure-play operator in contract logistics, ID Logistics has established itself as
one of the market leaders in e-commerce in France and Europe.

The group has two main business lines:

e logistics, which accounts for the majority of its business, consists of storage and
order preparation as well as freight forwarding and transportation solutions

with subsidiary La Fleche;

e supply chain management (cross-functional business) corresponds to control of
the supply chain, upstream and downstream flow management, and monitoring

of indicators.

The group generates the majority of its revenues with retailers (Carrefour, Auchan,
Fnac) in France and Europe. It also has operations in China, Brazil and Indonesia. At the
end of 2014, the group operated 184 warehouses around the world representing a total
of 3.6 million square metres.

 

2014 revenues by region 2014 revenues by market

# Food

» General goods

# France

. s DIY/Home decor
International

High tech

« Luxury goods and
cosmetics

  

 

 

 

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8.6 Wincanton

 

A UK group specialising in logistics and transportation services, Wincanton operates
primarily in the United Kingdom via over 200 sites and operates around 13 million
square metres of storage space and around 3,600 utility vehicles.

The group has two main business lines:

e “contract logistics” (85% of revenues in 2014), consisting of services such as road

transportation, storage and delivery;

¢ “specialist business” consisting of container transportation, freight and

maintenance services (mainly via Pullman and Wincanton Records

 

Management).
2014 revenue breakdown 2014 revenue breakdown
“Specialist business” “Contract logistics”

® Containers & Retail grocery

a Retail general merchandise

# Pullman = FMCG
# Records * Tankers and bulk
Management # Construction

* Other

  

 

 

 

 

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IX. OPINION OF NORBERT DENTRESSANGLE’S GROUP COMMITTEE

Extraordinary meeting of the Group Committee on 28 May 2015

The members of the Group Committee of Norbert Dentressangle, extraordinarily meeting this day in view of its
consultation with regard to the simplified tender offer targeting the company Norbert Dentressangle SA have :

- Heard the report of the expert appointed on 4 May 2015 pursuant to article 1.2323-21 of the Code du
Travail (French Labour Code);

- Heard the information and explanations provided by the management of Norbert Dentressangle and Gordon
Devens, representative of XPO Logistics, the offeror ;

- After discussion, decided to dekiver their opinion with regard to the draft Offer submitted for their
consultation.

Atfter the vote, Norbert Dentressangle’s Group Committee delivered the following opinion by a majority of its present
members :

In view of a permanent and, as of today, not completed financing package, the rationale of the investor and its strategy
to get the stock to soar in order to re-sell it in the medium term.

In view of the refusal to give an affirmative answer to all commitment demands made by the Group Commattee.

The members of the Group Committee CFDT, CGT, FO, UNSA, FINCR deliver an unfavourable opinion with
regard to the takeover of ND by XPO.

In view of the persisting uncertainties with respect to the detailed perspectives resulting from the takeover of ND by
XPO Logistics, CFTC, CFE, CGC members and the independent member are unable to deliver an opinion.

The certified accountant’s report to the group committee is included in Schedule 1 to this response
memorandum.

X. PRACTICAL ARRANGEMENTS UNDER WHICH THE INFORMATION CONCERNING THE
COMPANY IS MADE AVAILABLE

Other information concerning the characteristics of the Company, including legal, financial and
accounting characteristics, will be submitted to the AMF no later than the day before the opening of
the Offer. Pursuant to article 231-28 of the AMF General Regulations, this information will be
available on Norbert Dentressangle’s (www.norbert-dentressangle.fr) and the AMF’s (www.amf-
france.org) websites, the day before the opening of the Offer, and will be available free of charge
upon request to Norbert Dentressangle Groupe - 192, avenue Thiers - 69006 Lyon Cedex 44.

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XI. PERSONS ASSUMING RESPONSIBILITY FOR THE RESPONSE MEMORANDUM

« To my knowledge the elements contained in this response memorandum are accurate and do not contain any
omisstons likely to alter their impact.”

Mister Hervé Montjotin
Chairman of the Management Board of Norbert Dentressangle

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SCHEDULE I. REPORT OF THE CERTIFIED ACCOUNTANT TO THE GROUP COMMITTEE

NORBERT
DENTRESSANGLE
GROUP

 

Rapport sur l'Offre Publique
d'Acquisition de XPO Logistics

NORBERT DENTRESSANGLE GROUP
192 AVENUE THIERS
69457 LYON CEDEX 6 FRANCE

 

Dear all,

We were appointed by the elected representatives of the Norbert Dentressangle Works Council on 4 May 2015 to
help them to analyse the takeover bid from XPO Logistics for Norbert Dentressangle SA within the framework of
Article L. 2325-35.

This appointment resulted in the preparation of a mission statement with the Group Works Council dated 4 May
2015 and a letter to the Norbert Dentressangle Group’s Senior Management dated 5 May 2015.

In carrying out our work, we have also referred to our flash report prepared for the Works Council on the takeover
of GND dated 29 April 2015 and our report on the hearing of buyer XPO Logistics dated 6 May 2015.

In preparing this report, we have relied on:
* Documentation from outside the company (economic information, press articles, statistical reports etc.)};
* — In-house information available to the public (financial reports).

We would like to thank the elected representatives of the Works Council for the trust they have placed in us.

Please feel free to contact us if you require any additional explanations or further detail about any points you
consider necessary. Yours faithfully

Paris, 27 May 2015

Catherine Ferriére
independent Auditor
Grégory Djaouk
Carl Guinet
Benjamin Pierre
Martine Pindard

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INTRODUCTION: OVERVIEW OF THE LEGAL FRAMEWORK FOR
INFORMING/CONSULTING WITH THE WORKS COUNCIL (1/4)

© Calling of the first information meeting on the Offer:
# — Article L. 2323-21 of the French Labour Code:

* “When submitting a public takeover bid, the employer of the company for which the offer is
being made and the employer making the offer must immediately call a meeting of their
respective works councils in order to inform it of the offer. [...]

= During the works council meeting of the company for which the offer is being made, the
employer states whether the offer was solicited or not. The works council decides whether it
wants to proceed with hearing the party making the offer and appoint an independent
auditor in accordance with Article L.2325-35. It may also give its opinion on the friendly or
hostile nature of the offer.”

a Article L. 2323-23-1 of the French Labour Code:

» “, -- At the request of the employer making the offer, the employer of the company for
which the offer is being made can convene its works council within two working days of the
offer being announced. Articles L. 2323-21 to L. 2323-23 apply. The time frames for these
articles begin on the date the offer is announced [...]”

© Hearing of the buyer:
# Article L. 2323-21-1 of the French Labour Code

= The hearing of the party making the offer as mentioned in the final paragraph of Article L.
2323-21 shall be held within one week of the public takeover bid being submitted.

=" During the hearing, the party making the offer can be assisted by persons of its choosing. It
presents to the works council its business and financial policy, its strategic plans for the
company concerned and the repercussions of the implementation of the offer on all interests,
employment, operational sites and the location of the company’s decision-making centres.

=" The works council can be assisted by the independent auditor appointed in accordance with
the final paragraph of the same Article L. 2323-21.

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INTRODUCTION: OVERVIEW. OF THE LEGAL FRAMEWORK FOR
INFORMING/CONSULTING WITH THE WORKS COUNCIL (2/4)

 

Q Consultation meeting and opinion of the works council:
# Article L. 2323-23:

“|, -- Before the board of directors or the supervisory board gives a reasoned opinion on the
attractiveness of the offer and its consequences for the company being targeted, its
shareholders and employees, the works council of the company for which the offer is being
made meets and is consulted on the proposed offer. During this meeting, it reviews the
report prepared by the independent auditor in accordance with Article L. 2323-22-1 and
may ask for the party making the offer to attend.

The works council gives its opinion within one month of the public takeover bid being
submitted. If an opinion is not issued within this time frame, it is deemed to have been
consulted.

The works council’s opinion and the independent auditor’s report are reproduced in the
responding report prepared by the company for which the offer is being made or, if
applicable, in the joint offer document prepared by the party making the offer and the
company for which the offer is being made [...]”

© Independent auditor's report:
a Article L.2323-22-1:

“The independent auditor appointed in accordance with the final paragraph of Article L.
2323-21 prepares a report evaluating the business and financial policy and strategic plans
that the company making the offer intends to apply to the company for which the offer is
being made, as well as repercussions of their implementation on all interests, employment,
operational sites and the location of the company’s decision-making centres. [...]”

INTRODUCTION: OVERVIEW OF THE LEGAL FRAMEWORK FOR
INFORMING/CONSULTING WITH THE WORKS COUNCIL (3/4)

© Monitoring of commitments made by the buyer:
a Article L. 2323-26-1:

if at the close of the offer the party making the offer has acquired control of the company for
which the offer is being made within the meaning of Articles L. 233-1, L. 233-3 and L. 233-16
of the French Commercial Code, it shall report to the company's works council during the
sixth, twelfth and twenty-fourth month after the close of the offer on how it has
implemented the declarations of intent and, if applicable, the commitments it has made to
the works council, within the framework of the hearings set out in Articles L. 2323-21-1 and L.
2323-23 of the French Commercial Code, concerning employment, maintaining operating
sites and the location of decision-making centres as expressed in the offer document
mentioned in Article L. G21-8-IX of the French Monetary and Financial Code [...]”

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INTRODUCTION: MEANS OF CARRYING OUT THE ASSIGNMENT (4/4)

 

© Asof the date of writing this report and despite our requests, the following information is still
missing:

# Conclusions of the report by the independent appraiser (Mr Ledouble) concerning the proposed
offer: Executive Management states that this document will be not be available until early June;

# Quantitative assumptions concerning acquisitions by region and business line as well as the
projected timetable;

* Detailed 3-year business plan from XPO Logistics following the takeover of the Norbert
Dentressangle Group: Executive Management states that this will be prepared with the future
buyer and will be available in March 2016;

* Details of the financial package finally selected (increase in share capital and use of the bond
market) allowing for the buyout of the Norbert Dentressangle Group;

# Current and target organisational chart for operating and financial control of the XPO Logistics
group by country and business line;

# Target legal organisational chart for the XPO Logistics group by country and business line;

"Executive Management states that no operating and legal target organisational chart has
been defined as yet.

 >Furthermore, we have received information up to 26 May 2015.

© This factual information is essential in order to be able to understand the buyer’s overall plan.
This situation is regrettable and means that our analysis is only partial concerning “the business and
financial policy and strategic plans that the company making the offer intends to apply to the
company for which the offer is being made, as well as repercussions of their implementation on all
interests, employment, operational sites and the location of the company’s decision-making
centres.” (Article L.2323-26-1 of the French Labour Code).

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KEY POINTS

KEY POINTS (1/3)

 

© The announcement of the takeover of the Norbert Dentressangie Group by XPO Logistics on 28
April 2015 breaks with the traditional stance of the Norbert Dentressangle Group’s chairman, who
until March 2015 continued to focus on opportunities relating to the family-owned shareholding
structure and the group’s long history:

s See interview with the Chairman of the Management Board of 23 March 2015 in Le Parisien

Economie:

® When asked “How do you go from a very small enterprise to a mammoth while still keeping a
human dimension?”, the Chairman of the Management Board replied: “Despite our
continuous growth over the last 35 years, with 67% of share capital owned by the
Dentressangle family, our company has maintained its family spirit”.

= The keys to its success are “a history of continuity, quality of execution in our operations and
individual responsibility”.

= The visibility of the historic single brand name is emphasised.

© According to official communications, the family shareholders’ decision to sell is in response to the
issue of the succession of Norbert Dentressangle to ensure the durability and long-term
development of the group’s operations...

C_... However, the question of succession has been addressed in a “sudden and unexpected” way,
creating a shock for all employees, the potential consequences of which should not be
underestimated
a This feeling is accentuated by limited visibility on the outlook: according to Executive

Management, the company’s European strategy, timetable and resources allocated to
implementing this strategy and the business plan still need to be developed.

© The solidity and stability of the Norbert Dentressangle Group, reinforced by its form of
shareholding structure, are in contrast to XPO Logistics’ frantic growth model, based on a model
focusing strongly on the financial market and creating value for shareholders by increasing the
share price.

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KEY POINTS (2/3)

 

© The XPO Logistics model presents significant risks:

* To date, permanent financing has still not been found for the acquisition and the current terms
of debt severely destabilise the financial structure of the XPO Logistics group;

* The proposed raising of funds by means of a capital increase, initially announced at $1-1.5
billion, would not be enough to guarantee a balanced financial structure and allow for further
acquisitions in Europe: the strategic target announced;

» XPO Logistics’ initial cost of debt (around 8% in 2014) is much higher than the current standard
level for Norbert Dentressangle (around 3% in 2014), reflecting greater risk-taking;

# The financial strategy of XPO Logistics’ shareholders is conveyed by the current boom in mergers
and acquisitions in the United States and Europe in a financial market with abundant liquidity;

= Stacking up of non-consolidated companies/groups with no shared vision. This risk is
accentuated by the cultural differences between the two groups.

© This major step taken by XPO Logistics was based initially on the strategic fit in terms of
geographical presence (excluding the United States}, with the long-term aim of consolidation in the
transportation and logistics sector in Europe and a significant impact in terms of organisation and
employment.

 

KEY POINTS (3/3)
© In addition to the commitments announced (maintaining jobs and decision-making centres in
France)...

# According to the proposed simplified public tender offer announced on 25 May 2015, an entity
named XPO France SAS (subject to French law) is in the process of being registered in order to
lead the acquisition. Bradley Jacobs will be Chairman of the company’s Supervisory Board;

# Executive Management states that there are no plans to change the location and chairmanship
of the holding companies owning European entities (NDT, NDO and NDLI). “The only changes
planned for these entities will concern potentially their legal name. (Source: e-mail from
Executive Management of 26 May 2015)”

©... the scope of which remains limited, there are still uncertainties:

« What are the consequences for jobs in the short term for support functions, particularly in IT
and sales roles?

s What will be the breakdown between in-house/external jobs?

2 What will be the breakdown of jobs between each country?

# What are the consequences for employees of the planned legal restructuring?

# What is expected in terms of return on investment for shareholders? What are the
consequences for how operations are managed and human resources management?

* The proposed simplified public tender offer states that the buyer intends to implement a
policy of paying bonuses to management with the intention of fostering loyalty.

» How will they address acquisitions, business investment and investment in human resources, as
well as the need for a return on capital employed in a sector with low margins?

= The only information put forward is the commitment of an overall level of investment in
operating assets of 2-2.5% of revenues (2.5%, the lowest level of investment reached in 2014
in ND’s history since 2009), We would also note that official communications focus only on
investment in IT resources.

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ANALYSIS REPORT

1-REVIEW OF THE MAIN TERMS OF THE ACQUISITION OF FINANCING
OF THE TRANSACTION

 

MAIN TERMS OF THE ACQUISITION

 

© The acquisition price is €3.24 billion, including net debt of €1.08 billion:
» This represents €219.3 per share (cum dividend) for 9.9 million shares, or €2.17 billion; the
premium offered to shareholders is around 35% (benchmark: share price of 27 April 2015).
® This acquisition price represents 9.1x EBITDA (on the basis of a 2015 estimate of €357m) for the
Norbert Dentressangle Group for the average share price in February 2015 implying a multiple
of 6.8x EBITDA at end-2014 (see p29 of the 2014 annual report).
© Acquisition in two phases:
= Phase 1: buyout of shares owned by the Dentressangle family (representing €1.4 billion);
a Phase 2: public tender offer for shares listed on the stock market;
# The aim is to finalise the transaction in early June 2015,
© Main conditions precedent and clauses known:
a Approval from competition authorities in the United States (to date this authorisation
has been given) and Germany;
# After the offer, XPO Logistics must own at least 95% of ND SA’s share capital in order to force
remaining shareholders to sell their shares;
= Non-compete clause for a period of 3 years for current shareholders.
© Financing of the transaction by XPO Logistics:
* Temporary financing of up to €2.4 billion obtained from Morgan Stanley;
= The rate of interest starts at 4.25% and increases every 89 days to a level of 7.00% after the
close of the acquisition (the average interest rate for the Norbert Dentressangle Group’s debt
was around 3% in 2014);
* Debt must be repaid within 5 years, excluding any early repayments.
“ Liquidity at end-March 2015 of around €1 billion with total debt of around €0.9 billion;
# Undrawn credit facility of around €0.4 billion secured against assets.
-~>ND’s Executive Management and the buyer state that there is no risk concerning the transaction
going ahead with regard to financing already being finalised and no major problems concerning
hampering competition.

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FINANCING OF THE TRANSACTION FINALISED BUT WHICH WOULD
DESTABILISE THE XPO GROUP’S FINANCIAL STRUCTURE (1/2)

 

 

 

 

 

 

Consolidated equity (A) 1,368 691
Total debt (B) 491 1,212
Net debt (+) / Net cash (-) (C) -42 1,017
Debt ratio (B){A) (limit 250%) 36% 175% 273%

 

 

 

 

 

* Converted at exchange rate of 31/12/2014 $1 = 0.82638
** Tandem estimate of total debt: acquisition price + XPO’s prior debt

oO Firstly, the significant weighting in the short term of interest and the fairly short maturity (5 years)
of the temporary loan from Morgan Stanley would be damaging to the group’s financial structure:

*» We would also note that the interest rate for XPO Logistics’ principal debt is already very high at
7.9% and would have a significant impact on the group’s financial statements: €40m for an
operating loss of -€34m.

© Secondly, if the acquisition is financed by debt, the level of debt for the new entity would result ina
highly unbalanced financial structure in the light of the XPO group’s current equity and pressure
would be placed on cash flow from operations:

5 The ratio of total debt to consolidated equity would exceed the threshold of 250%,
indicating an unusually predominant level of debt in the light of the capital provided by the
shareholder;

* The leverage ratio (net debt/EBITDA) for the new entity would be higher than 7: this ratio
reflects how many years the group is able to repay its debt by means of its EBITDA, i.e. 7 years in

this case:
= Remember that the maximum level accepted by the Norbert Dentressangle Group’s lenders
was 3.5;

= During its hearing, the buyer (confirmed with investors) indicated a target ratio of less than 3,
with an ideal level of 1.

FINANCING OF THE TRANSACTION FINALISED BUT WHICH WOULD
DESTABILISE THE XPO GROUP’S FINANCIAL STRUCTURE (2/2)

© The buyer expresses a desire to raise funds by means of a rapid capital increase of around $1-1.5
billion to address the problem of debt. However, this fund raising would not be enough to bring
debt down to an acceptable level. Executive Management has also announced that it will use the

 

bond market to raise funds.

— To date, long-term financing allowing for a balanced financial structure is still to be found.

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2-INFORMATION ON THE SUPPLY CHAIN MARKET IN EUROPE AND
THE BUYER

TRANSPORTATION IN EUROPE AND FRANCE*

 

© In Europe in 2013 (last available data):
» Following a decline of 4.2% in 2012, road transportation of goods in Europe grew by 2.4% in
2013, driven by operators’ international activity (+6.2%), particularly in Eastern Europe (+9.7%).
*  Cabotage saw further growth (+18.0% in 2013 vs. +10.5% in 2012), particularly in Germany.
In France, it accounted for 4.5% of national transportation in 2013.

© Transportation in France:

2 In 2014, changes in volumes and revenues were identical as prices remained stable between
2013 and 2014;

s Sector data show a decline of 3.6% in 2014 for road transportation of goods in France compared
with near stability between 2012 and 2013:
* Growth was seen in proprietary transportation (+1.1% following an increase of 8.5% in 2013),

reflecting lesser use of outsourcing.

* Long-distance transportation (-4.3%) was harder hit than short-distance (-2.0%) by the
slowdown in activity in 2014;

* Stability can be seen in the transportation of agricultural and food products, contrasting with
the decline in intermediate goods (-4.2% in 2014 following -3.0% in 2013).

 
    

 

Third party in France
Proprietary in France

8.5%
“By geographical scope ere

  
 

 

 

National -0.3% -3.2%

International in France 1.9% -9.6%
“Bydistancecategory
a Less than 150km 0.2% -2.0%
150km or more -0.4% -4.3%

By type of goods Bee : : ees o , es
Agricultural and food products -2.1% 0.0%
Petroleum products -8.6% NM
Intermediate goods -3.0% -4.2%
Construction -1.2% -3.8%

Manufactured products 4.1% -4,0%

 

*Government source - Ministry of sustainable development

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SYNOPSIS OF CHANGES IN TRANSPORTATION OF GOODS AND
STRATEGIC RESPONSES BY OPERATORS

 

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SYNOPSIS OF CHANGES IN TRANSPORTATION OF GOODS AND
STRATEGIC RESPONSES BY OPERATORS

 

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_ International
expansion

 

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ABOUT THE BUYER (1/2).

© XPO Logistics adopted its expansion strategy in September 2011 (takeover of Express 1-by Bradley
Jacobs and its teams for an initial investment of $150m).
© This is a particularly aggressive and ambitious strategy with the aim of building up an international
operator and creating value for shareholders within a very short time frame
* Adopted in a large and highly fragmented sector presenting prospects for growth (trend towards
outsourcing transportation and logistics services to 3PL service providers)
* Via a number of major acquisitions leading to reconfiguration of the sector (“roll-up strategy”)
© According to G. Devens, Senior Vice-President of XPO Logistics, heard by the group’s works council
on 7 May 2015 within the framework of the announced offer, the edifice currently being built by
XPO’s management team benefits from “solid foundations”
© XPO’s strategy is in keeping with that of the companies founded previously and managed by
Bradley Jacobs in the US
* Amerex Oil Associates (founded in 1979): oil brokerage; annual revenues of $4.7bn
# Hamilton Resources (founded in 1984), oil trading company; revenues of Sibn
# United Waste Systems (founded in 1989), now No. 5 in waste treatment in North America.
After floating on the Nasdaq in 1992, the company was resold 6 years later in August 1997 to
USA Waste Services for $2bn
» United Rentals (founded in 1997), industrial equipment hire; revenues of $5.9bn, 13,000
employees
Bradley Jacobs was CEO of the company for 6 years until the end of 2003, when he stood down to
become Executive Chairman in charge of strategy, human resources and mergers and acquisitions. At
the same time, he announced his intention to invest in a new business sector in order to roil out a
similar strategy and to this end founded his own investment fund in December 2003 (Jacobs Private
Equity, LLC).

ABOUT THE BUYER (2/2)

 

# United Rentals (founded in 1997), Industrial equipment hire (cont’d)
Bradley Jacobs left US Rentals definitively in August 2007 following the announcement of the signing in
July 2007 of an agreement to sell US Rentals to US investment fund Cerberus Capital Management for
§6.6bn including taking on debt of $2.6bn.
The plan was not seen through. Cerberus pulled out of the acquisition in November 2007 against the
backdrop of contraction in the credit market due to not obtaining financing. The fund had to pay
compensation of $100m to US Rentals

It should be noted that
# United Rentals was the object of an investigation by the SEC (Stock Exchange
Commission) in 2004 concerning some of its accounting practices (relating to the
recognition of certain sale-leaseback transactions). It had to correct its accounts
for the 2002 and 2003 financial years and in August 2005 got rid of its Chief
Financial Officer. In 2008, it agreed to pay a fine of several million dollars to
bring the investigation to an end.

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XPO LOGISTICS’ HIGHLY AGGRESSIVE ACQUISITION STRATEGY (1/2)

 

© in3.5 years, acquisitions carried out (or in progress) represent a total of $5.2bn
a $1.5bn from 2012 to 2014;
» $3.7bn in the first half of 2015
© With two major acquisitions recently marking XPO’s entry into the contract logistics sector, as well
as the start of its expansion outside Europe
a New Breed ($616m) in September 2014: contract logistics in North America
® Norbert Dentressangle ($3.5bn/€3.2bn) in the first half of 2015, which is to date by far the
largest company targeted by the XPO group
© Since the initial investment of $150m in September 2011 in Express-1 (Bradley Jacobs’ investment
vehicle in the transportation sector, now XPO Logistics}, 4 successive capital increases took place
between March 2012 and September 2014, raising a total of $1.5bn
= Including around $700m in September 2014 with investment by 3 major institutional
shareholders: PSP Investments, GiC and Ontario Teachers' Pension Plan

XPO Logistics - Acquisitions 2012-2015 XPO Logistics - Capital increases

 

inm (Amount in $ billion, net of issue costs)

0,7

 

Cumulativ
4000 3689
3500
3000
2500
2000 «
1500 -
1000
500

0,4

   

502 0,1
“a 5

2012 (12 2013 (12 2014 (12 2015 (6
months) months) months) months) March 12 August 13 February 14 September 14

 

Capital increases by XPO Logistics

 

Mar-12 Public offering 9,200 137
Aug-13 Public offering 11,148 239
Feb-14 Public offering 17,250 414
Sep-14 Institutional investors (PSP, GIC, OTPP) 22,831 683

   

60,4

* Minus issue costs

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XPO LOGISTICS’ HIGHLY AGGRESSIVE ACQUISITION STRATEGY (2/2)

   

Continental Freight Services

Kelron

Turbo Logistics & BirDog
Logistics
Acquisitions in 201:
East Coast Air Charter
Covered Logistics and
Transportation

Interide Logistics

3PD

Optima Services Solutions
NLM

 

 
 

Pacer International
Atlantic Central Logistics
New Breed

   
 

"UX Specialized Logistics
Norbert Dentressangle

Bridge Terminal Transport

  

XPO Logistics - Acquisitions 2012-2015

Road transportation brokerage
Road transportation brokerage

Air freight brokerage
Road transportation brokerage

Road transportation brokerage
Last mile logistics

Last mile logistics

Online transportation solutions
management

Multimodal transportation

Last mile logistics
Logistics

 

Last mile logistics

Transportation, logistics, freight
forwarding
Multimodal transportation

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Road tra nsportation bro kerage

May-12
Aug-12
Oct-12

Feb-13
Feb-13

May-13
Aug-13
Nov-13
Dec-13

Mar-14

Jul-14

Sep-14

Feb-15
ist half 15

ist half 15

3.8
8.0
49.9

9.3
11.0

3.7
364.3
26.6
87.0

331.5
36.2

 

58.9
3,530.0

100.0
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3-CROSS-APPROACH TO THE XPO LOGISTICS GROUP AND NORBERT
DENTRESSANGLE

SIMILAR STRATEGY FOR BOTH GROUPS BUT DIFFERENT PACE,
METHOD AND END GOAL

 

 

   

Revenues for the two groups (€m*) Operating income for the two groups (€m*)
i XPO Logistics revenues i ND revenues @ XPO Logistics operating income ND operating income
+31% 4 156
4669 125 129 135 4

3880 4032
3576 /'

   

194

-23

 

2011 2012 2013 ~=St« 4 2011 2012 2013 «2014

* At the dollar exchange rate of 31/12/14

© ND, a long-standing operator, has pursued an acquisition strategy coupled with international
expansion for more than 10 years. This strategy:

® Corresponds to the response of other operators to changes in the supply chain market and for
ND is primarily based on a business-led logic;

= Has been achieved by means of rapid growth but with a certain amount of time given to
integration: 2.6x increase in revenues in 10 years but with an average of 3.5 years between the
biggest acquisitions (Christian Salvesen, TDG, Jacobson);

» Accompanied by positive operating income and almost continuous growth for 10 years.

© XPO Logistics, a recent operator in suppiy chain logistics (less than 5 years), has adopted the same
strategy as ND. However, this strategy:

# Is conducted by means of unbridled growth with no solid basis in an historic business line: 13.3x
increase in revenues in 4 years, bringing the group to the level of a key player in the United
States;

» Accompanied by a predominantly financial focus, as the end goal is to increase the share price in
order to realise a significant capital gain on resale for shareholders in the medium term;

# is reflected for the time being by repeated operating losses.

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NORBERT DENTRESSANGLE’S SHARE PRICE PERFORMANCE WITHA
LONG-TERM VIEW

 

© Successive increases of +8% in 2012; +60% in 2013; +30% 3 jn 2014 and +30% over the first 4 months
of 2015 : :
® $159.1 on 28/04/2015 before the takeover by XPO Logistics was announced vs. €54 at end-2011

© Market capitalisation exceeded the €1bn threshold in 2014, reaching
*  €1.2 billion at-end December 2014
8 £€1.6 billion on 28/04/2015 before the takeover was announced
# £€2.1 billion at the start of May 2015 ($2.4 billion), including the control premium offered by XPO
Logistics to Norbert Dentressangle SA shareholders

GND share price: 2003-2015 (in €)

‘ 5 :Pé “4
Cours de l'action GND : Pérlode 2003-2015 fen €) 2165

Beare V3.

      

Anconee OFA

HPL Logistics a

we

 

Announcement of XPO Logistics takeover bid
29 Apr 15

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In case of discrepancy between the French and the English version, the French version shall prevail.

SURGE IN THE XPO LOGISTICS SHARE PRICE AND MARKET
CAPITALISATION CLOSE TO $4 BILLION

© Despite recurring operating losses, investors have very positive expectations concerning XPO
Logistics’ future value

© These expectations are reflected by the sharp rise in the share price
» Increase of more than 4x since September 2011
«Share price close to $50 at the start of May 2015
© Market capitalisation of $3.9 billion at the start of May 2015 (vs. $0.6bn in September 2013)

XPO Logistics - Market capitalisation ($ million)

4000; 3808
3500 -

   
  
  

3000 ~
2500 4 2429

2000 ©

 

1500 -
1000

500 4
100

  

sept-11 apr12 march13 sept-13 sept-i4 deci4 may15

XPO Logistics share price: September 2011-May 2015 (S$)

LOUFS OE F SCHON APL) LORISTCS : SEPTEMOTE £01 I-A! ZVES {EN Dy} 48,6
4

  
 

 

   

26,3) Anronce
rachat ND

124
a ROG SRR RAaA MR HE RASZSEZR AS 2 a
s PER PRSE SEE EE eee gee
PEEEGEEPP RTE GGG pega babel

Announcement of ND takeover

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BUSINESS LEGITIMACY FOR ND VS. LEGITIMATE FINANCIAL POSITION
FOR XPO AS A RESULT OF THE TYPE OF SHAREHOLDING STRUCTURE -

 

Shareholding structure of the two groups at end-2014

 

© Miscellaneous investors

oe & Investment funds > 5%

@ Family or managers *
*including 19.5% held
by the Jacobs Private
Equity fund owned by
CEO Bradley Jacobs.

  

XPO logistics ND

© Norbert Dentressangle’s share capital is owned primarily by a long-standing family shareholder
(67% of share capital at end-2014):

“> ND’s legitimacy is based on a family trademark and stems from the expertise built up over time

starting with transportation and then coupled with logistics.

© The majority of XPO Logistics’ share capital is owned by investment funds. The weighting of
investment funds is likely to increase further following the planned new round of fund raising.
#* Note that CEO Bradley S. Jacobs owns 19.5% of share capital indirectly via his fund Jacobs
Private Equity and 0.2% directly (i.e. around €800m).

“>The XPO Logistics group’s rapid rise is based confidence instilled in the financial community by the
CEO/shareholder’s experience in mergers and acquisitions.

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XPO LOGISTICS’ MAIN SHAREHOLDERS (APRIL 2015)

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XPO LOGISTICS’ MAIN SHAREHOLDERS (APRIL 2015)

 

 

© Note that in April 2015, XPO Logistics’ management owned 21.1% of XPO Logistics’ share capital
# Of which Bradley Jacobs 19.7% (directly and indirectly via Jacobs Private Equity, LLC)

A DIFFERENT GROUP CULTURE IN MANY RESPECTS

 

© Norbert Dentressangle Group

Historic family shareholding structure with a long- &
term view

Values disseminated internally personified by
shareholder Norbert Dentressangle

Management team with a predominantly industry a
background
European culture with foothold of decision-making a

centres in France and presence across the entire
northern hemisphere

Decentralised operational management based &
primarily on an entrepreneurial approach by

managers at a number of hierarchical levels

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© XPO Logistics Group

Financial investors with a medium or even
short-term view

Management team with a predominantly
financial and iegal background, specialising in
mergers and acquisitions

North American culture with decision-making
centres in the United States and present only
in North America

Decentralised operational management in
theory based to a larger extent on the roll-out
of an effective IT system
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A NEW CULTURE FOR MORE THAN 42,000 EMPLOYEES WORLDWIDE

 

Two groups’ employees in 2014
(number of employees)*

   

pe
XPO logistics NO

O/w France
*Source: 2014 annual report (slight discrepancy with data from the “effectif groupel212.xis” file provided by HR)

© The Norbert Dentressangle Group has more than 4x as many employees as XPO Logistics:
42,468 employees including 12,588 in France vs. 10,000 for XPO Logistics.

© The Norbert Dentressangle Group also has a strategy of acquisitions and rapid international
expansion and has already had to face the challenge of disseminating a group culture and a
shared project:
# Remember that this is essential in order to make concrete the comprehensive international

offering promised to customers.

© The integration of more than 42,000 employees across a large area, marking an unprecedented

transformation for XPO Logistics, therefore constitutes a major challenge.

COMPLEX TRADE-OFFS IN ORDER TO LEAD ACQUISITIONS AND THE
NECESSARY INTERNAL INVESTMENT FROM THE FRONT

 

Breakdown of the two groups’ fixed assets GND capex ratio

aon 2018 ne ~+-Purchases of property, plant and equipment/revenues

 

 

53%
- Property, plant

and equipment ** 45%
@ Intangible assets * 4

7 573% >
a Goodwill 3,0% 31% ay

 

 

 

GND fixed assets XPO fixed assets

equipment.

 

2009 2010 2011 2012 2013 2014
* Mainly client relations

** Of which 46% relates to trucks for GND, i.e. €553m
(near zero for XPO Logistics)

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© The fixed assets of the Norbert Dentressangle Group (GND) are:
« Firstly, characterised by property, plant and equipment making up 46% of fixed | assets at
end-2014, around half of which relates to the vehicle fleet
* Secondly, characterised by its acquisition strategy as goodwill accounts for 38% of fixed
assets.
© The XPO Logistics group’s fixed assets are characterised primarily by its acquisition strategy,
68% of fixed assets at end-2014.
-> This asset structure and choice of operation for the directly owned fleet requires a policy of heavy
investment in the fleet...
-> However, this policy of investment made necessary by the choice of operation for the directly
owned fleet is already difficult to reconcile with rapid growth
# Past capex ratios shown on the right-hand chart show a downtrend relating partly to the
choice of management between leasing/directly owning the fleet and outsourcing/internal,
but also relating to trade-offs between acquisitions and capex.

STRATEGIC FIT BETWEEN BUSINESS LINES AND REGIONS BUT
SIGNIFICANT OVERLAP IN THE UNITED STATES

 

 

 

 

 

 

 

 

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4- SUMMARY OF RISKS AND POINTS TO LOOK OUT FOR

STRATEGY AND BUSINESS POLICY

 

_ international |

 

 

 

-expans on :

 

Rapid

 

development
ofawell-

Desire to

have a model
edon

 

 

 

fle

ible

human
resources

management
team

 

investment to

a ensure both -
acquisition growth
and organic growth —

 

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: insufficient resources
_ implemented to cope

ith acquisitions,
business investment and.

_ investment in human

resources, as wellas the
need fora return on

management team in

Europe? =
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BUSINESS ACTIVITY, PROFITS AND FINANCIAL STRUCTURE

 

 

estab
_ the financial -
Structure 0
the future
entity

Desire to oe
have agroup human resources
that makes : a
limited use of
_ heavy capex

 

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ORGANISATION AND EMPLOYMENT ISSUES

 

: preserve full-time
eg valent jobs i ins

 

 

 

_ performance _ What will be the bieskdewn,

~ between in- -house/external
“jobs?

What will be the breakdown of
jobs between each country?

 

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